Case 2:21-cv-04920-WLH-ADS        Document 137   Filed 05/23/22   Page 1 of 43 Page ID
                                        #:2269



    1   WIECHERT, MUNK & GOLDSTEIN, PC
        David W. Wiechert (SBN 94607)
    2   27136 Paseo Espada, Suite B1123
    3
        San Juan Capistrano, CA 92675
        Phone: (949) 361-2822
    4   Facsimile: (949) 361-5722
        dwiechert@aol.com
    5
      COHEN & GRESSER LLP
    6 Jason Brown (admitted pro hac vice)
      Nathaniel P. T. Read (admitted pro hac vice)
    7 Colin C. Bridge (admitted pro hac vice)
      800 Third Avenue
    8 New York, NY 10022
      Phone: (212) 957-7600
    9 Facsimile: (212) 957-4514

   10 jbrown@cohengresser.com
      nread@cohengresser.com
   11 cbridge@cohengresser.com

   12   Attorneys for Defendant
        Feras Antoon
   13

   14                       UNITED STATES DISTRICT COURT
   15               FOR THE CENTRAL DISTRICT OF CALIFORNIA
   16
        SERENA FLEITES,
   17
                                                     Case No. 21-cv-04920-CJC-ADS
                    Plaintiff,
   18         v.
                                                     NOTICE OF MOTION AND
   19   MINDGEEK S.A.R.L., a foreign entity;         MOTION TO DISMISS THE
        MG FREESITES, LTD., a foreign entity;        AMENDED COMPLAINT (DKT.
   20   MINDGEEK USA INCORPORATED, a                 No. 124-3); MEMORANDUM OF
        Delaware corporation; MG PREMIUM             POINTS AND AUTHORITIES IN
   21   LTD, a foreign entity; MG GLOBAL             SUPPORT THEREOF
        ENTERTAINMENT INC., a Delaware
   22   corporation; 9219-1568 Quebec, Inc.
        (d/b/a MindGeek), a foreign entity;          Date: August 8, 2022
   23   BERND BERGMAIR, a foreign                    Time: 1:30 p.m.
        individual; FERAS ANTOON, a foreign          Courtroom: 9B
   24   individual; DAVID TASSILLO, a foreign        Judge: Hon. Cormac J. Carney
        individual; COREY URMAN, a foreign
   25   individual; VISA INC., a Delaware
        corporation; COLBECK CAPITAL
   26   DOES 1-5; and BERGMAIR DOES 1-5

   27               Defendants.

   28

        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137     Filed 05/23/22   Page 2 of 43 Page ID
                                       #:2270



    1    NOTICE OF MOTION AND MOTION TO DISMISS THE COMPLAINT
    2         PLEASE TAKE NOTICE that on August 8, 2022, or as soon thereafter as
    3   the matter may be heard, before the Honorable Cormac J. Carney, in Courtroom 9
    4   B of the Ronald Reagan Federal Building and United States Courthouse, located at
    5   411 West Fourth, Santa Ana, California 92701-4516, Defendant Feras Antoon will
    6   and does hereby move to dismiss the Amended Complaint filed by Serena Fleites
    7   in its entirety as to Mr. Antoon.
    8         This Motion is made pursuant to Federal Rule of Civil Procedure 12(b)(2),
    9   on the grounds that the Court lacks personal jurisdiction over Defendant Antoon,
   10   and Rule 12(b)(6) on the grounds that the Amended Complaint fails to state a
   11   claim against him upon which relief may be granted.
   12         This Motion is based on this Notice of Motion and Motion to Dismiss the
   13   Amended Complaint; the Memorandum of Points and Authorities in support
   14   thereof; the Proposed Order attached hereto; the Motions to Dismiss and
   15   Memoranda of Points and Authorities in support thereof of the other Defendants in
   16   this action; the pleadings and other records in the Court’s file; and such other
   17   written and oral argument as may be presented to the Court.
   18         This Motion is made following the conference of counsel pursuant to L.R. 7-
   19   3, which took place on May 17, 2022.
   20   Dated: May 23, 2022
                                               WIECHERT, MUNK & GOLDSTEIN, PC
   21

   22                                       By: /s/ David W. Wiechert
                                               David W. Wiechert (SBN 94607)
   23

   24                                          COHEN & GRESSER LLP
   25                                          Jason Brown (admitted pro hac vice)
                                               Nathaniel P. T. Read (admitted pro hac vice)
   26                                          Colin C. Bridge (admitted pro hac vice)
                                               Attorneys for Defendant Feras Antoon
   27

   28
                                   1
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS                 Document 137            Filed 05/23/22           Page 3 of 43 Page ID
                                                 #:2271



    1                                            TABLE OF CONTENTS
    2
                                                                                                                          Page
    3

    4   PRELIMINARY STATEMENT ............................................................................... 1
    5   BACKGROUND ....................................................................................................... 3
    6   ARGUMENT ............................................................................................................. 7
    7   I.       THERE IS NO PERSONAL JURISDICTION OVER MR.
                 ANTOON ........................................................................................................ 7
    8
                 A.       There Is No General Jurisdiction Over Mr. Antoon ............................. 8
    9
                 B.       There Is No Specific Jurisdiction Over Mr. Antoon............................. 9
   10
                          1.       The Amended Complaint Fails To Plead Sufficient
   11                              Contacts Between Mr. Antoon and California. ........................ 10
   12                              a.        Plaintiff Has Not Alleged that Mr. Antoon Purposefully
                                             Directed His Conduct Toward California               10
   13
                                   b.        Plaintiff’s Claims Do Not Arise Out of Mr. Antoon’s
   14                                        Forum- Related Conduct                              13
   15                     2.       The Alleged California Contacts of the MindGeek
                                   Entities Cannot Establish Specific Jurisdiction
   16                              Over Mr. Antoon. ..................................................................... 14
   17                             a.         Plaintiff Cannot Rely on Alter Ego or Agency
                                             Theories                                                                         15
   18
                                   b.        The Amended Complaint Does Not Allege That Mr.
   19                                        Antoon Controlled or Directly Participated in Forum-
                                             Related Wrongdoing                                   17
   20
                          3.       Neither Mr. Antoon’s Nor the MindGeek Entities’
   21                              Nationwide Contacts Suffice to Establish Personal
                                   Jurisdiction Over Him. ............................................................. 19
   22
                          4.       Exercising Jurisdiction Over Mr. Antoon Would
   23                              Be Unreasonable. ...................................................................... 21
   24   II.      THE AMENDED COMPLAINT SHOULD BE DISMISSED
                 FOR FAILURE TO STATE A CLAIM........................................................ 22
   25
                 A.       Legal Standards ................................................................................... 22
   26
                 B.       The Court Should Dismiss Each of the Claims Asserted
   27                     Against Mr. Antoon ............................................................................ 24
   28
                                    i
         DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
              TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS              Document 137             Filed 05/23/22          Page 4 of 43 Page ID
                                              #:2272



    1
                        1.       The Sex Trafficking Claims (Counts I, II, and IV)
    2                            Should be Dismissed. ............................................................... 25
    3                   2.       The Child Pornography Claims (Counts V and VI)
                                 Should be Dismissed. ............................................................... 28
    4
                        3.       The Civil RICO Claims (Counts VII and VIII)
    5                            Should be Dismissed. ............................................................... 29
    6                   4.       Plaintiff’s State Law Claims Should be Dismissed. ................. 31
    7   III.   THE AMENDED COMPLAINT SHOULD BE DISMISSED
               BECAUSE SECTION 230 IMMUNITY EXTENDS TO MR.
    8          ANTOON ...................................................................................................... 32
    9   IV.    CONCLUSION ............................................................................................. 33
   10

   11

   12

   13

   14

   15
   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                                               - ii -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS                   Document 137              Filed 05/23/22           Page 5 of 43 Page ID
                                                   #:2273



    1                                            TABLE OF AUTHORITIES
    2
                                                                                                                            Page(s)
    3

    4    Cases
    5    A.B. v. Hilton Worldwide Holdings Inc.,
    6       484 F. Supp. 3d 921 (D. Or. 2020) ..................................................................... 19
    7    Allegro Consultants, Inc. v. Wellington Techs., Inc.,
    8
            No. 13-CV-02204-BLF, 2014 WL 4352344 (N.D. Cal. Sept. 2,
            2014) ................................................................................................................... 16
    9
         AMA Multimedia, LLC v. Wanat,
   10
           970 F.3d 1201 (9th Cir. 2020) .......................................................7, 10, 11-12, 21
   11
         Ashcroft v. Iqbal,
   12       556 U.S. 662 (2009) .................................................................................... passim
   13
      Axiom Foods, Inc. v. Acerchem Int’l
   14    874 F.3d 1064 (9th Cir. 2017) ........................................................................... 13
   15 Ayla, LLC v. Alya Skin Pty. Ltd.,
   16    11 F.4th 972 (9th Cir. Aug. 27, 2021) .....................................................10, 13-14

   17 Baker v. Chin & Hensolt, Inc.,
        No. C-09-4168 MMC, 2010 WL 1222783 (N.D. Cal. Mar. 24,
   18
        2010) ................................................................................................................... 16
   19
      Beatport LLC v. SoundCloud Ltd,
   20   No. CV 19-847 MRW, 2020 WL 3977602 (C.D. Cal. July 13,
   21   2020) ............................................................................................................. 23, 28

   22    Bell Atl. Corp. v. Twombly,
            550 U.S. 544 (2007) ..................................................................................... 22, 24
   23

   24    Calder v. Jones,
           465 U.S. 783 (1984) ............................................................................................. 7
   25
         Chavez v. Robinson,
   26
           12 F.4th 978 (9th Cir. 2021) ................................................................................. 3
   27

   28
                                     iii
          DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS                   Document 137              Filed 05/23/22           Page 6 of 43 Page ID
                                                   #:2274



    1
         Chirila v. Conforte,
           47 F. App’x 838 (9th Cir. 2002)......................................................................... 11
    2
         Cisco Sys. Inc. v. Link US, LLC,
    3       No. 18-CV-07576-CRB, 2019 WL 6682838 (N.D. Cal. Dec. 6,
    4       2019) ................................................................................................................... 12
    5    Corcoran v. CVS Health Corp.,
    6
           169 F. Supp. 3d 970 (N.D. Cal. 2016).................................................................. 9

    7    Daimler v. AG Bauman,
           571 U.S. 117 (2014) ............................................................................................. 8
    8

    9 Dawson v. HITCO Carbon Composites, Inc.,
        No. CV16-7337 PSG FFMX, 2017 WL 7806618 (C.D. Cal. Jan.
   10   20, 2017) ............................................................................................................. 23
   11
      Doan v. Singh,
   12   617 F. App’x 684 (9th Cir. 2015) ................................................................. 29, 30
   13 Doe v. Mindgeek USA Inc.,
   14   No. SACV2100338CJCADSX, 2021 WL 4167054 (C.D. Cal.
        Sept. 3, 2021) ...................................................................................................... 32
   15
      Doe v. WebGroup Czech Republic,
   16
        No. 2:21-cv-02428-VAP-SK, 2022 WL 982248 (C.D. Cal. Jan. 13,
   17   2022) ................................................................................................................... 23
   18 Eclectic Properties E., LLC v. Marcus & Millichap Co.,
   19    751 F.3d 990 (9th Cir. 2014) ........................................................................ 27, 31

   20 Elite Semiconductor, Inc. v. Anchor Semiconductor, Inc.,
         No. 5:20-CV-06846-EJD, 2021 WL 3037701 (N.D. Cal. July 19,
   21
         2021) ................................................................................................................... 11
   22
      Fasugbe v. Willms,
   23   No. CIV. 2:10-2320 WBS, 2011 WL 3667440 (E.D. Cal. Aug. 22,
   24   2011) ................................................................................................................... 18

   25    Fayer v. Vaughn,
           649 F.3d 1061 (9th Cir. 2011) ............................................................................ 23
   26

   27    Flynt Distrib. Co., Inc. v. Harvey,
            734 F.2d 1389 (9th Cir. 1984) ............................................................................ 15
   28
                                    - iv -
          DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS                   Document 137             Filed 05/23/22           Page 7 of 43 Page ID
                                                   #:2275



    1
         Forest Ambulatory Surgical Assocs., L.P. v. Ingenix, Inc.,
           No. CV122916PSGFFMX, 2013 WL 11323601 (C.D. Cal. Dec.
    2      13, 2013) ............................................................................................................. 30
    3    Gonzalez v. Google, LLC,
    4      2 F.4th 871 (9th Cir. 2021) ................................................................................. 32
    5    Grimmett v. Brown,
    6
            75 F.3d 506 (9th Cir. 1996) ................................................................................ 29

    7    Harmoni Int’l Spice, Inc. v. Bai,
           No. CV1600614BROASX, 2016 WL 6542731 (C.D. Cal. May 24,
    8
           2016) ................................................................................................................... 29
    9
         Holland Am. Line Inc. v. Wartsila N. Am., Inc.,
   10      485 F.3d 450 (9th Cir. 2007) .........................................................................20-21
   11
      Howard v. Am. Online Inc.,
   12   208 F.3d 741 (9th Cir. 2000) .............................................................................. 31
   13 Hum. Rts. Def. Ctr. v. Cty. of Los Angeles,
   14   No. CV 17-4883-R, 2017 WL 10402603 (C.D. Cal. Nov. 14, 2017) .......... 23, 25

   15    Indiana Plumbing Supply, Inc. v. Standard of Lynn, Inc.,
            880 F. Supp. 743 (C.D. Cal. 1995) ..................................................................... 19
   16

   17    Klayman v. Zuckerberg,
            753 F.3d 1354 (D.C. Cir. 2014) ......................................................................... 32
   18
         Littleton v. Experian Info. Solutions, Inc.,
   19
             2015 WL 4638308 (N.D. Cal. Aug. 4, 2015) ..................................................... 25
   20
         Living Designs, Inc. v. E.I. Dupont de Nemours & Co.,
   21       431 F.3d 353 (9th Cir. 2005) .............................................................................. 29
   22
      Manzarek v. St. Paul Fire & Marine Ins. Co.,
   23   519 F.3d 1025 (9th Cir. 2008) .......................................................................22-23
   24 Megaloudis v. YM & U Grp.,
   25   No. CV 20-1984 PSG, 2020 WL 4979193 (C.D. Cal. May 20,
        2020) ................................................................................................................. 8, 9
   26
         Munns v. Clinton,
   27
           822 F. Supp. 2d 1048 (E.D. Cal. 2011) .............................................................. 13
   28
                                    -v-
          DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS                   Document 137              Filed 05/23/22           Page 8 of 43 Page ID
                                                   #:2276



    1
         Panavision Int’l, L.P. v. Toeppen,
           141 F.3d 1316 (9th Cir. 1998), ............................................................................. 8
    2
         Papasan v. Allain,
    3      478 U.S. 265 (1986) ........................................................................................... 23
    4
         Pate v. Pate,
    5       No. 21-CV-07718-AGT, 2022 WL 395314 (N.D. Cal. Feb. 9,
    6
            2022) ................................................................................................................... 14

    7    People v. Ferrer,
           No. 16FE019224, 2016 WL 7237305 (Cal. Super. Dec. 09, 2016) ................... 32
    8

    9 Perez v. United States,
         No. 13CV1417-WQH-BGS, 2014 WL 4385473 (S.D. Cal. Sept. 3,
   10    2014) ................................................................................................................... 13
   11
      Perkumpulan Inv. Crisis Ctr. Dressel-WBG v. Danny M.K. Wong,
   12    No. C09-1786-JCC, 2012 WL 13024801 (W.D. Wash. Apr. 6,
         2012) ................................................................................................................... 20
   13

   14    Ranza v. Nike, Inc.,
           793 F.3d 1059 (9th Cir. 2015) ..................................................................... passim
   15
         Schwarzenegger v. Fred Martin Motor Co.,
   16
            374 F.3d 797 (9th Cir. 2004) .................................................................. 3, 7, 8, 10
   17
      Sec. & Exch. Comm’n v. Jammin Java Corp.,
   18    No. 215CV08921SVWMRW, 2016 WL 6595133 (C.D. Cal. July
   19    18, 2016) ..................................................................................................12-13, 18

   20 Serenium, Inc. v. Zhou,
         No. 20-CV-02132-BLF, 2020 WL 6275025 (N.D. Cal. Oct. 26,
   21
         2020) ................................................................................................................... 18
   22
      Shimmick Const. Co., Inc./Obayashi Corp. v. Officine Meccaniche
   23    Galletti-O.M.G. S.R.L.,
   24    No. 13-CV-2700-BAS JLB, 2014 WL 5847440 (S.D. Cal. Nov. 12,
         2014) ................................................................................................................... 16
   25
      Shin v. Time Squared Glob., LLC,
   26
         No. SACV1500943AGGJSX, 2015 WL 13284952 (C.D. Cal. Aug.
   27    26, 2015) ............................................................................................................. 27
   28
                                    - vi -
          DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS                   Document 137              Filed 05/23/22           Page 9 of 43 Page ID
                                                   #:2277



    1
         Sihler v. Fulfillment Lab, Inc,
            No. 3:20-CV-01528-H-MSB, 2020 WL 7226436 (S.D. Cal. Dec. 8,
    2       2020) ................................................................................................................... 14
    3    Sollberger v. Wachovia Sec., LLC,
    4       No. SACV 09-0766AGANX, 2010 WL 2674456 (C.D. Cal. June
            30, 2010) ............................................................................................................. 24
    5

    6
         Swartz v. KPMG LLP,
           476 F.3d 756 (9th Cir. 2007) ................................................................................ 7
    7
         Symettrica Ent., Ltd. v. UMG Recordings, Inc.,
    8
           No. LACV 19-01192-CJC-KLS, 2019 WL 8806093 (C.D. Cal.
    9      Sept. 20, 2019) .............................................................................................. 15, 19
   10 Thomas Land & Dev., LLC v. Vratsinas Constr. Co.,
   11   No. 18-CV-1896-AJB-NLS, 2019 WL 3842995 (S.D. Cal. Aug.
        14, 2019) ............................................................................................................. 15
   12
         United States v. X-Citement Video, Inc.,
   13
           513 U.S. 64 (1994) ............................................................................................. 28
   14
         Walden v. Fiore,
   15      134 S. Ct. 1115 (2014) ....................................................................................... 13
   16
      Wehlage v. EmpRes Healthcare, Inc.,
   17   791 F. Supp. 2d 774 (N.D. Cal. 2011)................................................................ 16
   18 In re WellPoint, Inc.,
   19    865 F. Supp. 2d 1002 (C.D. Cal. 2011) .............................................................. 29

   20    Williams v. Yamaha Motor Co.,
            851 F.3d 1015 (9th Cir. 2017) ............................................................................ 17
   21

   22 Wood v. N. Am. Van Lines, Inc.,
        No. 8:20-cv-02092-JLS-ADS, 2021 WL 3124155 (C.D. Cal. July
   23   22, 2021) ............................................................................................................. 17
   24
      Zeiger v. WellPet LLC,
   25    304 F. Supp. 3d 837 (N.D. Cal. 2018)................................................................ 12
   26    Statutes
   27
         18 U.S.C.A. § 1591(a)(2) ........................................................................................ 26
   28
                                    - vii -
          DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS                 Document 137 Filed 05/23/22                     Page 10 of 43 Page
                                               ID #:2278



   1
       18 U.S.C. § 1591(a)(1) ............................................................................................ 26

   2   18 U.S.C. § 1595............................................................................................ 5, 19, 26
   3   18 U.S.C. § 1962(d) ................................................................................................. 31
   4   18 U.S.C. § 1964.................................................................................................. 5, 19
   5
       18 U.S.C. § 2252...................................................................................................... 28
   6
       18 U.S.C. § 2252A................................................................................................... 28
   7

   8   18 U.S.C. § 2255............................................................................................ 5, 20, 28

   9   47 U.S.C. § 230.............................................................................................. 2, 32, 33
  10   Cal. Bus. & Prof. Code § 17200 .............................................................................. 31
  11
       Cal. Bus. & Prof. Code § 17500 .............................................................................. 31
  12
       Cal. Civ. Code § 1708.85 ........................................................................................ 31
  13
       Court Rules
  14

  15   Fed. R. Civ. P. 4(k)(1) ............................................................................................... 8

  16   Fed. R. Civ. P. 4(k)(2) ......................................................................................... 8, 20
  17   Fed. R. Civ. P. 8........................................................................................... 22, 24, 25
  18
       Fed. R. Civ. P. 12(b)(2) ......................................................................................... 2, 3
  19
       Fed. R. Civ. P. 12(b)(6) .................................................................................... passim
  20
       Other Authorities
  21

  22   Restatement (Third) Agency § 1.01 (2006) ............................................................. 17

  23

  24

  25

  26

  27

  28
                                  - viii -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS      Document 137 Filed 05/23/22        Page 11 of 43 Page
                                    ID #:2279



   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2                            PRELIMINARY STATEMENT1
   3
             With this Court’s order dismissing the disparate and wide-ranging claims of
   4
       other plaintiffs, the case now centers on assertions by Serena Fleites (“Plaintiff”)
   5
       that MindGeek S.a.r.l. and certain affiliated entities (the “MindGeek Entities”)
   6
       purportedly failed to remove explicit videos of her uploaded by third parties to
   7
       their websites. Showing the weakness of Plaintiff’s claims, the Amended
   8
       Complaint (ECF No. 124-3 (“Amended Complaint” or “AC”)) includes an
   9
       unrelated and unsupported tale of sex trafficking, money laundering, and tax
  10
       evasion. The Amended Complaint covers over 500 paragraphs; none of them
  11
       alleges that defendant Feras Antoon took any action in the United States or did
  12
       anything to harm Plaintiff. The Amended Complaint instead claims, without any
  13
       of the required supporting facts, that Mr. Antoon, the MindGeek Entities’ CEO,
  14
       must have known and approved of everything that took place across many
  15
       companies and many years. These allegations are legally insufficient, and the
  16
       claims against Mr. Antoon should be dismissed for three independent reasons.
  17
             First, even taking all of its factual allegations as true, the Amended
  18
       Complaint fails to establish personal jurisdiction over Mr. Antoon: he is a
  19
       Canadian citizen who lives and works in Montreal and has no contacts with
  20
       California or the United States. Mr. Antoon has not directed any conduct at
  21
       California, much less the required tortious or other wrongful conduct, and
  22
       Plaintiff’s claims do not arise from any forum-directed conduct. Further, any
  23
       California contacts (or U.S. contacts) of the MindGeek Entities cannot be used to
  24
       establish jurisdiction over Mr. Antoon. For these reasons, the exercise of personal
  25

  26  Pursuant to this Court’s order dated April 14, 2022, the page limitation for Mr.
       1


  27 Antoon’s papers seeking dismissal under Rule 12 of the Federal Rules of Civil
     Procedure has been expanded to 50. (See ECF No. 128.)
  28
                                    1
           DEFENDANT FERAS ANTOON’S MEMORANDUM OF POINTS AND
               AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 12 of 43 Page
                                     ID #:2280



   1   jurisdiction over Mr. Antoon here would be unreasonable and violate Due Process.
   2   See Section I.
   3         Second, the case should be dismissed under Rule 12(b)(6) for failure to state
   4   a claim. Plaintiff’s claims are simply not based on facts relating to Mr. Antoon.
   5   Despite detailed notice of the original Complaint’s pleading deficiencies,
   6   Plaintiff’s 169-page Amended Complaint continues to rely on group pleading and
   7   conclusory allegations about Mr. Antoon’s knowledge and conduct. This approach
   8   is not only legally insufficient but confirms that Plaintiff’s claims are entirely
   9   without merit. See Section II.
  10         Third, Communications Decency Act Section 230, which affords internet
  11   service providers broad immunity for content provided by third parties, also
  12   protects Mr. Antoon. See Section III.
  13         For all of the reasons discussed herein, Plaintiff’s claims against Mr. Antoon
  14   should be dismissed with prejudice.2
  15
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26  The Court should also dismiss Plaintiff’s claims against Mr. Antoon for the
       2

     reasons set forth in concurrently filed memoranda of points and authorities
  27
     submitted by the MindGeek Entities, Bernd Bergmair, David Tassillo, and Corey
  28 Urman pursuant to Rules 12(b)(2) and 12(b)(6), with which he joins.
                                              -2-
      DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
              TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 13 of 43 Page
                                     ID #:2281



   1
                                         BACKGROUND 3

   2   The MindGeek Entities
   3          MindGeek S.a.r.l. is a foreign entity organized and existing under the laws
   4   of Luxembourg. (AC ¶ 19.) Its subsidiaries include defendants MG Freesites,
   5   Ltd., MindGeek USA Incorporated (“MindGeek USA”), MG Premium Ltd., MG
   6   Global Entertainment Inc. (“MG Global”), and 9219-1568 Quebec, Inc. (“9219”).
   7   (AC ¶¶ 20-24.) These subsidiaries own and operate various adult websites,
   8   including Pornhub. (See, e.g., AC ¶ 20.)
   9          The MindGeek Entities own a group of so-called tubesites that contain free
  10   digital pornography. (AC ¶ 60.) Users are drawn to their tubesites by the ability to
  11   access, upload, and exchange free content. (Id.) Like other websites, such as
  12   YouTube, the MindGeek Entities use the traffic on their sites to generate revenue
  13   by, among other things, (1) advertising their own paid content and (2) selling
  14   advertising space to third parties. (Id.) Traffic to their sites is the major source of
  15   revenue for the MindGeek Entities. (See AC ¶¶ 62, 69.)
  16          As is common, the MindGeek Entities’ sites offer “comprehensive terms of
  17   service, policies, and customer service functions” as well as “multiple layers of
  18   interaction.” (AC ¶ 103.) And they employ moderators to police the content on
  19   their websites and to investigate and respond to complaints. (See, e.g., AC ¶ 186.)
  20

  21

  22
       3
        Solely for purposes of this Motion, this section is drawn from the factual
  23   allegations in the Amended Complaint. See, e.g., Schwarzenegger v. Fred Martin
       Motor Co., 374 F.3d 797, 800 (9th Cir. 2004) (while a plaintiff “cannot simply rest
  24
       on the bare allegations of [her] complaint,” “uncontroverted allegations in the
  25   complaint must be taken as true” on a Rule 12(b)(2) motion (cleaned up)); Chavez
       v. Robinson, 12 F.4th 978, 985 (9th Cir. 2021) (courts “accept as true well-pleaded
  26   factual allegations, but not [t]hreadbare recitals of the elements of a cause of
       action, supported by mere conclusory statements” on a Rule 12(b)(6) motion
  27   (cleaned up)).
  28
                                     -3-
           DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
                TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS      Document 137 Filed 05/23/22       Page 14 of 43 Page
                                    ID #:2282



   1   This Litigation and Plaintiff’s Claims
   2         Plaintiff, together with 33 women from across the globe, commenced this
   3   action in June 2021. (See ECF. No. 1 (“Complaint” or “Compl.”) ¶¶ 11-44.) The
   4   Complaint asserted nineteen causes of action against the MindGeek Entities, Visa,
   5   Inc., and four individuals, including Mr. Antoon. (See Compl. ¶¶ 484-644.) On
   6   October 10, 2021, Mr. Antoon moved to dismiss for lack of personal jurisdiction
   7   and failure to state a claim. (See ECF No. 68.) He joined in the MindGeek
   8   Entities’ motion to sever and dismiss the other, misjoined plaintiffs. (See ECF
   9   Nos. 75, 82.) On February 10, 2022, this Court granted that motion, denied Mr.
  10   Antoon’s motion to dismiss the Complaint as moot, and directed Plaintiff to file an
  11   amended complaint. (See ECF No. 119 at 19 & n.3.)
  12         The Amended Complaint is therefore Plaintiff’s second chance to plead
  13   viable claims. According to the Amended Complaint, Plaintiff was in the eighth
  14   grade when she learned that a nude, sexually explicit video of her had been
  15   uploaded to Pornhub without her knowledge or consent. (AC ¶ 258.) Plaintiff’s
  16   then-boyfriend had induced her to make the video with the intent of posting it to
  17   Pornhub. (Id.) The Amended Complaint claims that “MindGeek personnel”
  18   reviewed that video and posted it to Pornhub and other tubesites. (See AC ¶ 259.)
  19   When Plaintiff sought to have the video removed from Pornhub, the platform did
  20   not respond for two weeks and took at least one to two weeks more to remove the
  21   video. (AC ¶ 261.) The original video was downloaded and reuploaded by
  22   different users with different titles. (AC ¶ 262.) According to the Amended
  23   Complaint, these reuploaded videos were also “reviewed and accepted by
  24   MindGeek” as well as “uploaded to other tubesites by MindGeek.” (Id.) Each
  25   time Plaintiff learned that the video had been reuploaded, she asked that it be
  26   removed, but “Pornhub . . . took weeks to take each video down.” (AC ¶ 263.)
  27         Later, Plaintiff began to date an older man. (AC ¶ 267.) That man also
  28   manipulated Plaintiff into creating sexually explicit videos of herself. (Id.) These
                                               -4-
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
              TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 15 of 43 Page
                                     ID #:2283



   1   videos were sold on Craigslist and the Kik app. (Id.) Plaintiff learned that, once
   2   sold, some of these videos were uploaded onto Pornhub without her knowledge or
   3   consent. (AC ¶ 268.) The Amended Complaint claims “MindGeek personnel”
   4   also reviewed these videos and uploaded them to other tubesites. (Id.) At some
   5   unspecified time, Plaintiff allegedly hired “an investigatory firm to investigate
   6   whether any of her videos were still accessible on Pornhub or other pornographic
   7   sites and to facilitate takedown requests.” (AC ¶ 271.) The Amended Complaint
   8   does not plead that Plaintiff or her representatives submitted formal (or informal)
   9   requests that these later videos be removed from the Pornhub platform. According
  10   to the Amended Complaint, because sexually explicit videos of Plaintiff were
  11   posted on sites affiliated with the MindGeek Entities without her consent, she
  12   suffered psychological, financial, and reputational harm. (See AC ¶¶ 270-71.)
  13         Based on these allegations, Plaintiff asserts seventeen causes of action
  14   against many of the same defendants named in the original Complaint, including
  15   Mr. Antoon. (See AC at 120-68.) Plaintiff’s claims arise under: (1) 18 U.S.C. §
  16   1595 for alleged violations of the Trafficking Victims Protection Reauthorization
  17   Act (“TVPRA”); (2) 18 U.S.C. § 2255 for alleged violations of the federal statutes
  18   prohibiting the possession and distribution of child pornography; (3) 18 U.S.C. §
  19   1964(c) for alleged RICO violations predicated on, among other things, alleged
  20   violations of the TVPRA and federal statutes prohibiting possession and
  21   distribution of child pornography; (4) various California statutes for alleged
  22   misappropriation of likeness, distribution of private sexually explicit materials, and
  23   fraudulent business practices; and (5) California tort law. (See id.)
  24         At bottom, Plaintiff’s claims against Mr. Antoon rest on the factually
  25   unsupported conclusion that he knew or should have known that the sexually
  26   explicit videos involving Plaintiff were made when she was a minor and thus he
  27   should have prevented their posting or had them taken down more quickly.
  28
                                 -5-
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS      Document 137 Filed 05/23/22        Page 16 of 43 Page
                                    ID #:2284



   1   Jurisdictional Allegations And Allegations About Mr. Antoon
   2         The Amended Complaint also fails to establish personal jurisdiction over
   3   Mr. Antoon.
   4         MindGeek S.a.r.l. and certain other MindGeek Entities are foreign entities
   5   with their principal places of business outside the U.S. (See AC ¶¶ 19-20, 22, 24.)
   6   Of the MindGeek Entities, only MindGeek USA and MG Global have offices in
   7   California, (see AC ¶¶ 21, 23), while MindGeek S.a.r.l. allegedly has “satellite
   8   offices” in California, (AC ¶ 19).
   9         Mr. Antoon is a resident of Canada and alleged to be the CEO and a co-
  10   owner of 9219. (AC ¶ 26.) The Amended Complaint asserts that Antoon is “held
  11   out as being co-owner and CEO of all MindGeek related entities” and “wield[s]
  12   control over the operation of all MindGeek entities.” (Id.) But the Amended
  13   Complaint makes almost no factual allegations about Mr. Antoon and does not
  14   assert that Plaintiff had any interactions with Mr. Antoon or that his actions had
  15   any impact on her.
  16         One of the few facts alleged about Mr. Antoon is that he testified before the
  17   Canadian House of Commons. (See, e.g., AC ¶¶ 57-58, 96.) In conclusory fashion
  18   and without factual support, the Amended Complaint also states that Mr. Antoon
  19   and certain others at the MindGeek Entities refer to themselves as the “Bro-Club,”
  20   (AC ¶ 71), that he (with other so-called Bro-Club members) retained “daily
  21   operational control” of the MindGeek Entities after a transaction allegedly
  22   conducted in or about 2013 in which Bernd Bergmair obtained control over the
  23   MindGeek Entities on behalf of a new set of owners, (AC ¶ 97), and that he had a
  24   company that “would sign exclusive deals with unknown porn performers” which
  25   he then promoted to “increase the value of their content,” (AC ¶ 145). The
  26   Amended Complaint also states that Mr. Antoon said that the structure of the
  27   MindGeek Entities gave so-called Bro-Club members “plausible deniability.” (AC
  28   ¶ 81.) And an unidentified “insider” purportedly—contrary to the alleged
                                              -6-
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 17 of 43 Page
                                     ID #:2285



   1   assertions of “plausible deniability” that the Amended Complaint also credits—
   2   claimed Mr. Antoon and others in the Bro-Club would know “everything.” (AC ¶
   3   200.)
   4           The Amended Complaint is also sprinkled with factually empty assertions
   5   that individual foreign defendants Mr. Antoon, Corey Urman, and David Tassillo
   6   knew of and “implemented” various thinly described practices. (See, e.g., AC ¶¶
   7   173 (“All of this was done with Bergmair’s approval and direction and directed
   8   and executed by Antoon, Tassillo, and Urman.”), 194 (“This strategic operational
   9   element was implemented with the knowledge and approval of Bergmair, Antoon,
  10   Tassillo, and Urman.”), 200 (“This was no accident [but] approved and directed by
  11   Bergmair and implemented by Antoon, Tassillo, and Urman.”).) But the Amended
  12   Complaint never alleges that Mr. Antoon took any action in or directed any action
  13   toward California or the United States, nor that he took any action that related in
  14   any way to Plaintiff.
  15
                                           ARGUMENT

  16   I.      THERE IS NO PERSONAL JURISDICTION OVER MR. ANTOON
  17           Plaintiff bears the burden of establishing personal jurisdiction. See Ranza v.
  18   Nike, Inc., 793 F.3d 1059, 1068 (9th Cir. 2015). While well-pleaded factual
  19   allegations will be taken as true, see Schwarzenegger, 374 F.3d at 800, “mere ‘bare
  20   bones’ assertions of minimum contacts with the forum or legal conclusions
  21   unsupported by specific factual allegations” are insufficient. Swartz v. KPMG
  22   LLP, 476 F.3d 756, 766 (9th Cir. 2007). And each defendant’s contacts with the
  23   forum “must be assessed individually.” Calder v. Jones, 465 U.S. 783, 790 (1984).
  24           Personal jurisdiction may be asserted here over a non-resident defendant
  25   when permitted by California’s long-arm statute and where the exercise of
  26   jurisdiction does not violate due process. See AMA Multimedia, LLC v. Wanat,
  27   970 F.3d 1201, 1207 (9th Cir. 2020). Under California’s long-arm statute, a court
  28   may “exercise personal jurisdiction over a defendant to the extent permitted” by
                                              -7-
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
              TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22         Page 18 of 43 Page
                                     ID #:2286



   1   due process. Panavision Int’l, L.P. v. Toeppen, 141 F.3d 1316, 1320 (9th Cir.
   2   1998). The analysis centers on whether a defendant has sufficient contacts with
   3   California such that forcing him to defend here does not violate due process. See,
   4   e.g., Schwarzenegger, 374 F.3d at 801, 807 (concluding defendant lacked
   5   sufficient contacts with California for long-arm jurisdiction).
   6         A court may exercise either general or specific jurisdiction over a defendant.
   7   See Ranza, 793 F.3d at 1068-69. General jurisdiction covers all claims, “whether
   8   or not the conduct at issue has any connection to the forum.” Id. But general
   9   jurisdiction covers only “those nonresident defendants whose ‘continuous and
  10   systematic’ contacts in the forum state render them ‘essentially at home’ there.”
  11   Megaloudis v. YM & U Grp., No. CV 20-1984 PSG (JPRx), 2020 WL 4979193, at
  12   *2 (C.D. Cal. May 20, 2020) (quoting Daimler v. AG Bauman, 571 U.S. 117, 138-
  13   39 (2014)). Specific jurisdiction is limited to cases that arise out of or relate to a
  14   defendant’s contacts with the forum. See Ranza, 793 F.3d at 1968.
  15         Under certain circumstances, courts may evaluate a defendant’s contacts
  16   with the United States as a whole, but only where (1) authorized to do so by a
  17   federal statute, see Fed. R. Civ. P. 4(k)(1)(C), or (2) a claim against the defendant
  18   arises under federal law and the defendant is not subject to the personal jurisdiction
  19   of any state, see Fed. R. Civ. P. 4(k)(2).
  20         As discussed in more detail below, Plaintiff cannot meet her burden to
  21   establish either general or specific personal jurisdiction over Mr. Antoon because
  22   he lacks sufficient contacts with California or the United States for the exercise of
  23   personal jurisdiction over him to comport with due process.
  24         A.     There is No General Jurisdiction Over Mr. Antoon
  25         As the Supreme Court stated in Daimler v. AG Bauman, “[f]or an individual,
  26   the paradigm forum for the exercise of general jurisdiction is the individual’s
  27   domicile.” 571 U.S. at 137. Mr. Antoon does not reside in California and the
  28   Amended Complaint does not allege any contacts between him and California.
                                           -8-
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22       Page 19 of 43 Page
                                     ID #:2287



   1   Faced with similar facts, courts regularly conclude they lack general jurisdiction.
   2   See, e.g., Megaloudis, N2020 WL 4979193, at *3 (concluding court lacked general
   3   jurisdiction over individual defendant domiciled in Virginia). There is thus
   4   unquestionably no basis for general jurisdiction over Mr. Antoon.
   5         Moreover, no MindGeek Entity’s contacts with California may be imputed
   6   to Mr. Antoon to confer general jurisdiction over him through an agency or alter
   7   ego relationship. The “Daimler decision invalidated the Ninth Circuit’s agency
   8   test for purposes of general jurisdiction.” Corcoran v. CVS Health Corp., 169 F.
   9   Supp. 3d 970, 982 (N.D. Cal. 2016). And because, as discussed in more detail in
  10   Section I.B.2 below, the Amended Complaint fails to allege facts establishing that
  11   any of the MindGeek Entities in California (or the United States) is Mr. Antoon’s
  12   alter ego, the alter ego doctrine also cannot confer general jurisdiction over Mr.
  13   Antoon. See, e.g., Ranza, 793 F.3d at 1074-75 (affirming dismissal where
  14   plaintiffs could not show the alter ego doctrine applied to confer general
  15   jurisdiction over non-resident corporate parent). In sum, there is no basis for
  16   general jurisdiction over Mr. Antoon.
  17         B.     There Is No Specific Jurisdiction Over Mr. Antoon
  18         Ninth Circuit courts apply a three-pronged test to determine whether the
  19   exercise of specific jurisdiction is proper:
  20         (1) The non-resident defendant must purposefully direct his activities
  21         or consummate some transaction with the forum or resident thereof; or
             perform some act by which he purposefully avails himself of the
  22         privilege of conducting activities in the forum, thereby invoking the
             benefits and protections of its laws;
  23
             (2) the claim must be one which arises out of or relates to the
  24         defendant’s forum-related activities; and
  25
             (3) the exercise of jurisdiction must comport with fair play and
  26         substantial justice, i.e. it must be reasonable.
  27

  28
                                 -9-
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS        Document 137 Filed 05/23/22       Page 20 of 43 Page
                                      ID #:2288



   1   Schwarzenegger, 374 F.3d at 802 (citation omitted). It is the plaintiff’s burden to
   2   satisfy the first two prongs of this test. See id. If plaintiff meets her burden on
   3   both prongs, the burden shifts to defendant to show that exercising jurisdiction
   4   over him would not be reasonable. See id. If any of these three requirements is not
   5   satisfied, then due process precludes the exercise of personal jurisdiction. See
   6   Wanat, 970 F.3d at 1208. Here, Plaintiff has not met and cannot meet her burden
   7   of showing that Mr. Antoon purposefully availed himself of the benefits and laws
   8   of California or the U.S., and her claims do not arise out of or relate to Mr.
   9   Antoon’s actions here. And, what’s more, the exercise of jurisdiction over Mr.
  10   Antoon would be unreasonable.
  11                1.       The Amended Complaint Fails To Plead Sufficient Contacts
  12
                             Between Mr. Antoon and California.
             Analysis of the first two prongs of the Ninth Circuit’s test shows that Mr.
  13
       Antoon’s contacts with California are insufficient to confer specific jurisdiction
  14
       over him. Plaintiff simply cannot meet her burden to show that Mr. Antoon
  15
       purposefully directed his activities toward California and that her claims arise out
  16
       of and relate to his forum-related activities.
  17

  18                         a.   Plaintiff Has Not Alleged that Mr. Antoon
                                  Purposefully Directed His Conduct Toward
  19                              California.
  20         Under the first prong, Ninth Circuit courts focus “on purposeful availment
  21   when the underlying claims sound in contract and on purposeful direction when
  22   they arise from alleged tortious conduct committed outside the forum.” Ayla, LLC
  23   v. Alya Skin Pty. Ltd., 11 F.4th 972, 979 (9th Cir. Aug. 27, 2021). Plaintiff’s
  24   claims against Mr. Antoon sound in tort. Accordingly, the purposeful direction test
  25   applies, and the inquiry is whether Mr. Antoon “(1) committed an intentional act,
  26   (2) expressly aimed at the forum state, (3) causing harm that the defendant knows
  27   is likely to be suffered in the forum state.” Schwarzenegger, 374 F.3d at 805
  28   (citation omitted).
                                 - 10 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22         Page 21 of 43 Page
                                     ID #:2289



   1         The allegations about Mr. Antoon fail to satisfy this purposeful direction
   2   test. Even after full briefing detailing the jurisdictional defects in the original
   3   Complaint, the Amended Complaint does not allege that Mr. Antoon took any
   4   action aimed at California or anywhere else in the U.S. The Amended Complaint
   5   states at most a conclusion that Mr. Antoon knew of certain conduct that is not
   6   alleged to have taken place in the United States and is several steps removed from
   7   any action that purportedly caused harm to Plaintiff. (See, e.g., AC ¶¶ 181, 194-95,
   8   200.) But “knowledge and consent—passive states of mind—do not constitute
   9   intentional acts directed at the forum state.” Chirila v. Conforte, 47 F. App’x 838,
  10   842 (9th Cir. 2002); see also Elite Semiconductor, Inc. v. Anchor Semiconductor,
  11   Inc., No. 5:20-CV-06846-EJD, 2021 WL 3037701, at *9 (N.D. Cal. July 19, 2021)
  12   (conclusory allegations of conspiracy with California company showed, at most,
  13   knowledge of and consent to wrongdoing, and were thus insufficient to establish
  14   jurisdiction over Taiwan domiciliary). Thus, even if the Court could credit the
  15   Amended Complaint’s statement that Mr. Antoon would know “everything” (a
  16   conclusion unsupported by any facts), and then draw the unwarranted inference
  17   from that conclusion that Mr. Antoon knew the MindGeek Entities allegedly failed
  18   to take the actions Plaintiff contends they should have, that flimsy chain would not
  19   satisfy the purposeful direction test. Mr. Antoon’s purported knowledge of acts
  20   (that may or may not have been committed in California or the U.S.) is not a
  21   sufficient basis for personal jurisdiction.
  22         The Amended Complaint’s few allegations of Mr. Antoon’s activities—e.g.,
  23   testifying before the Canadian House of Commons (see AC ¶¶ 58, 96, 447) and
  24   operating a shell company through which he would sign deals with porn
  25   performers (AC ¶ 145)—fall short of alleging that Mr. Antoon “expressly aimed”
  26   any acts at California. Plaintiff does not even allege that these acts took place in
  27   the U.S. and much more is required to show conduct “expressly aimed” at
  28   California. See, e.g., Wanat, 970 F.3d at 1210-12 (concluding allegations of
                                              - 11 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
                TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 22 of 43 Page
                                     ID #:2290



   1   geotargeted advertisements and a U.S. viewer base were insufficient to establish
   2   “expressly aimed” requirement).
   3         Similarly, allegations that “the Bro-Club led by” Mr. Antoon had “daily
   4   operational control of” the MindGeek Entities generally (AC ¶ 97) cannot establish
   5   that he committed acts “expressly aimed” toward California. If such “general
   6   allegations of managerial responsibilities or involvement in a business’s other
   7   transactions were sufficient,” a company’s officers would be subject to jurisdiction
   8   in virtually every situation where jurisdiction extends to the company, a result that
   9   does not comport with due process. Cisco Sys. Inc. v. Link US, LLC, No. 18-CV-
  10   07576-CRB, 2019 WL 6682838, at *4 (N.D. Cal. Dec. 6, 2019) (citation omitted).
  11         Plaintiff’s allegations grouping Mr. Antoon together with the so-called
  12   “MindGeek Defendants” do not establish jurisdiction. Due process requires
  13   scrutiny of each defendant’s contacts with the forum, and Plaintiff cannot show
  14   personal jurisdiction based on undifferentiated assertions against multiple
  15   defendants. E.g., Zeiger v. WellPet LLC, 304 F. Supp. 3d 837, 848-49 (N.D. Cal.
  16   2018) (disregarding allegations grouping defendants together).
  17         For this reason, among others, the Amended Complaint’s attempts to bolster
  18   the few references to Mr. Antoon’s activities with bare assertions that Mr. Antoon,
  19   Mr. Tassillo, and Mr. Urman “directed” or “implemented” vaguely described
  20   practices should be disregarded as jurisdictionally irrelevant. (See, e.g., AC ¶¶ 7,
  21   171-73, 193, 200, 209, 213-214, 423, 428.) These allegations impermissibly lump
  22   Mr. Antoon together with other defendants and thus are insufficient. E.g., Zeigler,
  23   304 F. Supp. at 848-49. They also carry no weight because they lack the required
  24   facts. (See, e.g., AC ¶¶ 171-73, 193, 200, 209, 213-14, 423, 428.) Allegations,
  25   like these, that do not assert facts to plausibly suggest that a foreign defendant’s
  26   conduct subjects him to jurisdiction are impermissibly conclusory and cannot
  27   establish jurisdiction. See, e.g., Sec. & Exch. Comm’n v. Jammin Java Corp., No.
  28   215CV08921SVWMRW, 2016 WL 6595133, at *11 (C.D. Cal. July 18, 2016)
                                   - 12 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS        Document 137 Filed 05/23/22      Page 23 of 43 Page
                                      ID #:2291



   1   (“conclusorily” listing defendant as one of the participants in a financing scheme in
   2   a complaint “devoid of any allegations concerning [his] actual participation” was
   3   insufficient to confer jurisdiction). The Amended Complaint does not even allege
   4   where or how the various so-called policies and practices Antoon, Tassilo, and
   5   Urman purportedly “directed” were “implemented,” which of the MindGeek
   6   Entities allegedly adopted these policies or practices, or otherwise plead facts
   7   meeting Plaintiff’s burden of showing conduct “expressly aimed” at California (or
   8   the United States).
   9         Even if the Amended Complaint did contain factual allegations
  10   demonstrating that Antoon implemented specific policies by directing MindGeek
  11   Entity employees to do (or not do) certain things—which it does not—this would
  12   be insufficient to confer jurisdiction over him. See, e.g., Perez v. United States,
  13   No. 13CV1417-WQH-BGS, 2014 WL 4385473, at *8 (S.D. Cal. Sept. 3, 2014)
  14   (concluding “general allegations of [] federal officers’ supervisory responsibilities
  15   and alleged implementation of” policy along the Southern Border, “without more,
  16   do not satisfy Plaintiffs’ prima facie burden to satisfy the purposeful direction
  17   test.”); Munns v. Clinton, 822 F. Supp. 2d 1048, 1078 (E.D. Cal. 2011)
  18   (“[A]llegations limited to national policy implementation and oversight are
  19   insufficient to support a finding of personal jurisdiction.”). In sum, the Amended
  20   Complaint, like the original Complaint, falls far short of pleading that Mr. Antoon
  21   purposefully directed his conduct towards California.
  22                         b.   Plaintiff’s Claims Do Not Arise Out of Mr. Antoon’s
  23
                                  Forum-Related Conduct.
             Plaintiff also cannot show that her claims “arise out of contacts that the
  24
       defendant himself creates with the forum.” Axiom Foods, Inc. v. Acerchem Int’l,
  25
       Inc., 874 F.3d 1064, 1068 (9th Cir. 2017) (quoting Walden v. Fiore, 134 S. Ct.
  26
       1115, 1122 (2014) (quotation marks and citation omitted)). Although the forum-
  27
       related activities need not be the “but for” causation of the alleged harm, see Ayla,
  28
                                 - 13 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 24 of 43 Page
                                     ID #:2292



   1   11 F.4th at 983 n.5, a relationship between a defendant’s forum-related activities
   2   and plaintiffs’ claims is required. See, e.g., Pate v. Pate, No. 21-CV-07718-AGT,
   3   2022 WL 395314, at *1 (N.D. Cal. Feb. 9, 2022) (concluding test was not satisfied
   4   where none of the alleged California contacts had anything to do with the
   5   plaintiffs’ claims). Plaintiff does not allege any forum-related activities by Mr.
   6   Antoon that have anything to do with the alleged failure to detect and take down
   7   videos of her.
   8         Here, Plaintiff alleges no connection whatsoever between any action by Mr.
   9   Antoon and any of her claims. Indeed, the Amended Complaint’s failure to plead
  10   any forum-related activities by Mr. Antoon, see Section I.B.1.a, necessarily dooms
  11   Plaintiff’s attempts to establish a relationship between Mr. Antoon’s California
  12   contacts and her claims. Accordingly, Plaintiff cannot meet her burden of showing
  13   that her claims arise out of Mr. Antoon’s forum-related conduct.
  14                2.     The Alleged California Contacts of the MindGeek Entities
  15
                           Cannot Establish Specific Jurisdiction Over Mr. Antoon.
             A court “cannot impute a corporation’s contacts to its employees” as a
  16
       general matter.4 Sihler v. Fulfillment Lab, Inc, No. 3:20-CV-01528-H-MSB, 2020
  17
       WL 7226436, at *5 (S.D. Cal. Dec. 8, 2020). Imputing a corporation’s contacts to
  18
       an officer is appropriate in only two limited circumstances: (1) where the
  19
       corporation is the alter ego or agent of the individual defendant; or (2) where the
  20
       individual controlled and directly participated in the alleged activities. See id.
  21
       (citation omitted); see also id. n.2 (explaining that considering these two theories
  22
       as exceptions to the fiduciary shield doctrine is a misnomer because under both
  23
       “jurisdiction is exercised on the basis of the individual’s own contacts with the
  24
       forum, not the contacts of his or her own corporation” (emphasis added)). Because
  25

  26

  27   Of course, a defendant’s status as a corporate officer does not shield him from
       4

     jurisdiction based on his own acts directed to the forum, but Mr. Antoon is not
  28 alleged to have taken any actions in or directed toward California.
                                              - 14 -
      DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 25 of 43 Page
                                     ID #:2293



   1   neither of these circumstances is present here, the MindGeek Entities’ contacts
   2   with California cannot be imputed to Mr. Antoon.
   3                       a.    Plaintiff Cannot Rely on Alter Ego or Agency
   4
                                 Theories.
             The Amended Complaint does not contain any factual allegations that the
   5
       MindGeek Entities are Mr. Antoon’s alter ego. For the alter ego doctrine to apply,
   6
       the plaintiff must allege a factual basis showing “(1) that there is such unity of
   7
       interest and ownership that the separate personalities of the corporation and the
   8
       individuals no longer exist and (2) that failure to disregard the corporation would
   9
       result in fraud or injustice.” Symettrica Ent., Ltd. v. UMG Recordings, Inc., No.
  10
       LACV 19-01192-CJC-KLS, 2019 WL 8806093, at *4 (C.D. Cal. Sept. 20, 2019)
  11
       (quoting Flynt Distrib. Co., Inc. v. Harvey, 734 F.2d 1389, 1393 (9th Cir. 1984)).
  12
             Here, the Amended Complaint fails to meet either prong. To show the
  13
       required unity of interest and ownership under the first prong, the plaintiff must
  14
       allege facts showing “pervasive control . . . such as when a parent corporation
  15
       dictates every facet of the subsidiary’s business.” Ranza, 793 F.3d at 1073
  16
       (citation and quotation marks omitted). Plaintiff cannot establish this control
  17
       through conclusory allegations. See, e.g., Thomas Land & Dev., LLC v. Vratsinas
  18
       Constr. Co., No. 18-CV-1896-AJB-NLS, 2019 WL 3842995, at *6 (S.D. Cal. Aug.
  19
       14, 2019) (rejecting as insufficient conclusory allegations that defendants
  20
       “dominated, influenced, and controlled each other and the officers of one another,
  21
       as well as the business, property, and affairs of each other” (citation omitted)). The
  22
       scant factual allegations regarding Mr. Antoon do not establish that he had such
  23
       pervasive control over any MindGeek Entity. Rather, the Amended Complaint
  24
       confirms that Mr. Antoon was a minority stakeholder and did not have ultimate
  25
       control over the MindGeek Entities. (See, e.g., AC ¶ 96 (“Bergmair represents a
  26
       group of investors who collectively hold the majority of the beneficial interests in
  27
       the MindGeek entities”); AC ¶ 4 (these “uber-wealthy owners” are “the ‘over-
  28
                                 - 15 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 26 of 43 Page
                                     ID #:2294



   1   bosses’” of the entities and “are unknown” even to Mr. Antoon).) Nor does the
   2   Amended Complaint plead specific facts showing that Mr. Antoon engaged in
   3   conduct that would “typically suggest an alter ego relationship in California:
   4   commingling of funds, the individual’s treatment of corporate assets as his own,
   5   disregard of legal formalities and the failure to maintain arm’s length relationships
   6   among related entities, or diversion or manipulation of assets.” Allegro
   7   Consultants, Inc. v. Wellington Techs., Inc., No. 13-CV-02204-BLF, 2014 WL
   8   4352344, at *6 (N.D. Cal. Sept. 2, 2014) (concluding plaintiff failed to make a
   9   prima facie case of personal jurisdiction over company’s co-founder absent
  10   evidence of such factors).
  11         To satisfy the second prong of the alter ego test, “there must be an
  12   inequitable result if the acts in question are treated as those of the corporation
  13   alone.” Shimmick Const. Co., Inc./Obayashi Corp. v. Officine Meccaniche
  14   Galletti-O.M.G. S.R.L., No. 13-CV-2700-BAS JLB, 2014 WL 5847440, at *6
  15   (S.D. Cal. Nov. 12, 2014) (quoting Wehlage v. EmpRes Healthcare, Inc., 791 F.
  16   Supp. 2d 774, 782 (N.D. Cal. 2011)). Plaintiff’s conclusory allegations do not
  17   meet this prong either. See, e.g., Shimmick, 2014 WL 5847440, at *7 (conclusory
  18   allegation held “no weight in [the court’s] jurisdictional analysis”). Again, the few
  19   factual allegations as to Mr. Antoon do not show that “fraud or injustice” would
  20   result if the acts of any of the MindGeek Entities were not attributed to Mr.
  21   Antoon. The Amended Complaint does not plead that any MindGeek Entity is (or
  22   was) undercapitalized by Mr. Antoon, or that a judgment for Plaintiff could not be
  23   satisfied because of any action by Mr. Antoon, and so cannot establish that “fraud
  24   or injustice” would result if Mr. Antoon were not deemed the alter ego of any
  25   MindGeek Entity. See, e.g., Baker v. Chin & Hensolt, Inc., No. C-09-4168 MMC,
  26   2010 WL 1222783, *4 (N.D. Cal. Mar. 24, 2010) (dismissing claim against
  27   individual because, among other things, there was no allegation that defendant
  28   depleted company’s assets or caused it to be undercapitalized); Shimmick, 2014
                                              - 16 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 27 of 43 Page
                                     ID #:2295



   1   WL 5847440, at *7 (concluding piercing the veil to obtain jurisdiction over
   2   individual would be improper where, among other things, there were no facts
   3   before the court suggesting plaintiff could not be made whole without his
   4   participation).
   5         The MindGeek Entities’ contacts also cannot be attributed to Mr. Antoon
   6   under an agency theory. For jurisdiction to rest on the acts of an agent, that agent
   7   must “act on the principal’s behalf and subject to the principal’s control.”
   8   Williams v. Yamaha Motor Co., 851 F.3d 1015, 1024 (9th Cir. 2017) (quoting
   9   Restatement (Third) of Agency § 1.01 (2006)). Indeed, the principal must be able
  10   to “substantially control” the agent’s activities. Williams, 851 F.3d at 1025. The
  11   Amended Complaint does not plead that any MindGeek Entity acted on Mr.
  12   Antoon’s behalf in California (or anywhere else) or that he substantially controlled
  13   any forum-directed activities by any entity. Indeed, the Amended Complaint
  14   contradicts the notion that Mr. Antoon controlled any jurisdictionally relevant
  15   actions, stating that Mr. Antoon believed the MindGeek Entities were structured in
  16   a way that gave Bro-Club members “plausible deniability” (AC ¶ 81) and asserting
  17   that Mr. Antoon and Mr. Tasillo “don’t[] even check” on the MindGeek Entities’
  18   activities (AC ¶ 200). These allegations undercut any potential agency theory.
  19   See, e.g., Wood v. N. Am. Van Lines, Inc., No. 8:20-cv-02092-JLS-ADS, 2021 WL
  20   3124155, at *5 (C.D. Cal. July 22, 2021) (concluding specific jurisdiction over
  21   non-resident was improper where no facts showed that the non-resident exercised
  22   substantial control over in-forum activities relevant to plaintiff’s claims).
  23                       b.     The Amended Complaint Does Not Allege That Mr.
  24
                                  Antoon Controlled or Directly Participated in Forum-
                                  Related Wrongdoing.
  25         The Amended Complaint is also devoid of any allegations that Mr. Antoon
  26   controlled or directly participated in the alleged wrongdoing giving rise to
  27   Plaintiff’s claims such that the MindGeek Entities’ jurisdictionally-relevant
  28
                                 - 17 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS      Document 137 Filed 05/23/22       Page 28 of 43 Page
                                    ID #:2296



   1   contacts could be imputed to him. Even if the Court could credit the conclusion
   2   that Mr. Antoon would know “everything,” bare assertions that a corporate officer
   3   knew or had reason to know of a corporation’s tortious conduct are insufficient to
   4   confer jurisdiction. See, e.g., Serenium, Inc. v. Zhou, No. 20-CV-02132-BLF,
   5   2020 WL 6275025, at *8 (N.D. Cal. Oct. 26, 2020) (rejecting plaintiff’s theory that
   6   jurisdiction over non-resident CEO was proper because “she either knew or had to
   7   know” of the alleged misconduct).
   8         The Amended Complaint also cannot impute any MindGeek Entity’s
   9   contacts to Mr. Antoon based on factually empty variations on the refrain that Mr.
  10   Antoon, Mr. Urman, and Mr. Tassillo “directed” and “implemented” vaguely
  11   described practices. (See, e.g., AC ¶¶ 171 (“Under the direction and control of
  12   Bergmair, Antoon, Tassillo, Urman, and the beneficial owners they represented . . .
  13   .”), 172 (“Under Bergmair’s direction and the operational implementation by
  14   Antoon, Tassillo, and Urman . . . .”), 173 (“All of this was done with Bergmair’s
  15   approval and direction and directed and executed by Antoon, Tassillo, and
  16   Urman”), 194 (“This strategic operational element was implemented with the
  17   knowledge and approval of Bergmair, Antoon, Tassillo, and Urman.”), 209 (“All
  18   of these practices were known to and approved by Bergmair and implemented and
  19   directed by Antoon, Tassillo, and Urman”), 213 (“This . . . was done at the
  20   direction of Antoon, Tassillo, and Urman pursuant to the wishes of Bergmair.”).
  21         To meet her burden, Plaintiff must allege “facts to plausibly suggest
  22   personal direction of the allegedly unlawful activities.” Fasugbe v. Willms, No.
  23   CIV. 2:10-2320 WBS, 2011 WL 3667440, at *4 (E.D. Cal. Aug. 22, 2011). Thus,
  24   a defendant’s personal participation in a company’s forum-related wrongful
  25   conduct cannot rest on conclusory allegations. See Jammin Java Corp., 2016 WL
  26   6595133, at *11. The Amended Complaint’s mantra that “Antoon, Tassillo, and
  27   Urman” “directed,” “executed,” and “implemented” vague practices fails to allege
  28   any facts indicating that Antoon (or the other individual defendants) controlled or
                                               - 18 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
                TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 29 of 43 Page
                                     ID #:2297



   1   participated in any forum-related wrongdoing by the MindGeek Entities. See, e.g.,
   2   Symettrica Ent., Ltd., 2019 WL 8806093, at *3 (rejecting conclusory allegation
   3   that individual defendant “specifically authorized, directed, or participated in the
   4   wrongful conduct alleged”). These allegations fall far short of pleading conduct by
   5   Mr. Antoon that would justify hailing him into court in California based on any
   6   MindGeek Entity’s contacts. See Indiana Plumbing Supply, Inc. v. Standard of
   7   Lynn, Inc., 880 F. Supp. 743, 751 (C.D. Cal. 1995) (declining to exercise
   8   jurisdiction over corporation’s president who, although ultimately responsible for
   9   corporation’s advertising, did not develop the infringing advertising campaign or
  10   bear sole responsibility for the decision to adopt it).
  11         In sum, Plaintiff cannot rely on conduct by any MindGeek Entity to support
  12   personal jurisdiction over Mr. Antoon.
  13                3.      Neither Mr. Antoon’s Nor the MindGeek Entities’
  14
                            Nationwide Contacts Suffice to Establish Personal
                            Jurisdiction Over Him.
  15         To the extent Plaintiff seeks to establish jurisdiction over Mr. Antoon based
  16   on his contacts with the entire United States (and not only California), she fares no
  17   better—the Amended Complaint is equally barren of allegations of contacts with
  18   the United States.
  19         It is the Plaintiff’s burden to establish that jurisdiction over each defendant is
  20   proper. See Ranza, 793 F.3d at 1068. Of the federal statutes Plaintiff cites in her
  21   causes of action, 18 U.S.C. § 1595 provides no basis for using the national contacts
  22   test. See, e.g., A.B. v. Hilton Worldwide Holdings Inc., 484 F. Supp. 3d 921, 933
  23   (D. Or. 2020) (concluding defendant lacked sufficient contacts with forum state to
  24   be haled into court to defend against plaintiff’s TVPRA claim). And although
  25   Plaintiff asserts that jurisdiction over the defendants, including Mr. Antoon, is
  26   proper under 18 U.S.C. § 1964, “a plaintiff may not rely on a defendant’s national
  27   contacts to establish personal jurisdiction over the defendant before service has
  28
                                 - 19 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22         Page 30 of 43 Page
                                     ID #:2298



   1   been effected pursuant to RICO’s service provisions.” Perkumpulan Inv. Crisis
   2   Ctr. Dressel-WBG v. Danny M.K. Wong, No. C09-1786-JCC, 2012 WL 13024801,
   3   at *8 (W.D. Wash. Apr. 6, 2012) (concluding there was no jurisdiction under the
   4   long-arm statute over foreign defendant served by alternate means). Here, Mr.
   5   Antoon was not served in the United States; he waived service of process from his
   6   residence in Canada. (ECF No. 28.)
   7         Thus, the only federal statute that could provide a basis for resorting to Mr.
   8   Antoon’s national contacts is 18 U.S.C. § 2255. But even if Plaintiff had properly
   9   invoked jurisdiction under 18 U.S.C. § 2255, the dearth of jurisdictionally relevant
  10   contacts with the United States would doom any attempt to establish jurisdiction
  11   over Mr. Antoon. For the reasons described in Section I.B.1 above, the Amended
  12   Complaint fails to allege any jurisdictionally relevant specific act by Mr. Antoon
  13   that relates to Plaintiff’s claims. It therefore can satisfy neither the purposeful
  14   direction test nor the requirement that Plaintiff’s claims arise out of and relate to
  15   Mr. Antoon’s forum-related contacts. Further, for the reasons described in Section
  16   I.B.2 above, the Amended Complaint also fails to plead facts that would permit the
  17   imputation of the MindGeek Entities’ contacts with the United States to Mr.
  18   Antoon. The lack of allegations describing any specific act by Mr. Antoon
  19   relevant to Plaintiff’s theory that she has been injured by any action or inaction by
  20   the MindGeek Entities means that the exercise of jurisdiction over Mr. Antoon is
  21   improper whether or not it is based on his non-existent contacts with California or
  22   his non-existent contacts with the United States.
  23         For this reason, Rule 4(k)(2) also cannot save the Amended Complaint’s
  24   deficient jurisdictional allegations. As the Ninth Circuit has observed, “[t]he due
  25   process analysis under Rule 4(k)(2) is nearly identical to traditional personal
  26   jurisdiction analysis with one significant difference: rather than considering
  27   contacts between [a defendant] and the forum state, we consider contacts with the
  28   nation as a whole.” Holland Am. Line Inc. v. Wartsila N. Am., Inc., 485 F.3d 450,
                                            - 20 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
                TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22         Page 31 of 43 Page
                                     ID #:2299



   1   462 (9th Cir. 2007). The Amended Complaint fails to allege sufficient
   2   jurisdictionally relevant contacts with the United States for the exercise of
   3   jurisdiction over Mr. Antoon to comport with due process.
   4                4.     Exercising Jurisdiction Over Mr. Antoon Would Be
   5
                           Unreasonable.
             While the Court need not reach the third element of the specific jurisdiction
   6
       test because Plaintiff cannot satisfy the first two elements, the claims against Mr.
   7
       Antoon should also be dismissed because the exercise of personal jurisdiction over
   8
       him would be unreasonable. To the extent Plaintiff has any claims arising from
   9
       Mr. Antoon’s conduct, they should be brought in Canada, where he resides. (AC ¶
  10
       26.) California has relatively little interest in this case; while Plaintiff was
  11
       allegedly injured here, almost all of the defendants, including the corporate
  12
       defendants, are foreign, suggesting most if not all of the alleged acts or omissions
  13
       of which Plaintiff complains likely occurred abroad. (See AC ¶¶ 20-28.) Indeed,
  14
       the Amended Complaint pleads that “9219 employees actually conduct all
  15
       operational functions including monitoring the website content, optimizing that
  16
       content to maximize SEO, uploading content to its other tubesites,” and so on.
  17
       (AC ¶ 33.) Defendant 9219 is a Canadian company with its principal place of
  18
       business in Montreal, where Mr. Antoon also resides. (AC ¶¶ 24, 26.) Given the
  19
       availability of a superior alternative forum, this Court’s lack of interest in
  20
       adjudicating claims against Mr. Antoon that have nothing to do with anything he
  21
       did in California or the U.S., and the undue burden on Mr. Antoon of litigating
  22
       here, exercising jurisdiction over him in this action would be unreasonable. See,
  23
       e.g., Wanat, 970 F.3d at 1212 n.9 (reasoning that exercising jurisdiction over a
  24
       foreign citizen “would be unreasonable given his limited contacts with the forum,
  25
       the burden . . . if he must defend in the forum, potential conflicts with [the foreign
  26
       country’s] sovereignty and its potential as an alternative forum”). Plaintiff has no
  27

  28
                                 - 21 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS        Document 137 Filed 05/23/22         Page 32 of 43 Page
                                      ID #:2300



   1   basis for suing Mr. Antoon in California and forcing him to defend here would be
   2   unreasonable.
   3   II.   THE AMENDED COMPLAINT SHOULD BE DISMISSED FOR
   4
             FAILURE TO STATE A CLAIM

   5         The Amended Complaint should also be dismissed as to Mr. Antoon under
   6   Rule 12(b)(6) because it does not allege facts showing that he engaged in any
   7   alleged wrongful conduct and therefore fails to provide the “short and plain
   8   statement of the claim showing that the pleader is entitled to relief” required by
   9   Rule 8(a)(2). Fed. R. Civ. P. 8(a)(2). 5
  10
             A.     Legal Standards
  11         To survive a motion to dismiss under Rule 12(b)(6), “a complaint must
  12   contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
  13   plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell
  14   Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To meet this standard, the
  15   plaintiff’s allegations must show “more than a sheer possibility that a defendant
  16   has acted unlawfully.” Ashcroft, 556 U.S. at 678; see also Twombly, 550 U.S. at
  17   555 (a complaint’s factual allegations must “raise a right to relief above the
  18   speculative level”).
  19         Pleadings based on “labels and conclusions,” “formulaic recitation[s] of the
  20   elements of a cause of action,” or “naked assertion[s] devoid of further factual
  21   enhancement” do not meet this standard. Iqbal, 556 U.S. at 662 (citation and
  22   quotation marks omitted) (second alteration in original). While courts “accept
  23   factual allegations in the complaint as true and construe the pleadings in the light
  24   most favorable to the nonmoving party,” Manzarek v. St. Paul Fire & Marine Ins.
  25

  26
      The Court should also dismiss Plaintiff’s claims against Mr. Antoon under Rule
       5

  27 12(b)(6) for the reasons set forth in the concurrently filed memoranda of points and
     authorities submitted by the MindGeek Entities, Bernd Bergmair, David Tassillo,
  28 and Corey Urman, which Mr. Antoon joins.
                                               - 22 -
      DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
              TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS      Document 137 Filed 05/23/22       Page 33 of 43 Page
                                    ID #:2301



   1   Co., 519 F.3d 1025, 1031 (9th Cir. 2008), they do not accept conclusory
   2   allegations as true. See Papasan v. Allain, 478 U.S. 265, 286 (1986) (“we are not
   3   bound to accept as true a legal conclusion couched as a factual allegation”); Fayer
   4   v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011) (courts are not required to “assume
   5   the truth of legal conclusions merely because they are cast in the form of factual
   6   allegations” (citation omitted)). Similarly, “generalized allegations, devoid of any
   7   factual detail, are insufficient to state a plausible claim.” Dawson v. HITCO
   8   Carbon Composites, Inc., No. CV16-7337 PSG FFMX, 2017 WL 7806618, at *4
   9   (C.D. Cal. Jan. 20, 2017); see also Hum. Rts. Def. Ctr. v. Cty. of Los Angeles, No.
  10   CV 17-4883-R, 2017 WL 10402603, at *2 (C.D. Cal. Nov. 14, 2017) (holding that
  11   “allegations that an individual oversaw implementation of the policy at issue,
  12   without more, [are] too ‘bald’ and ‘conclusory’ to accept as plausible” (citing
  13   Iqbal, 556 U.S. at 680-81)).
  14         A complaint also must allege each defendant’s conduct and may not ascribe
  15   conduct to a collective group of “defendants.” It is improper “for a complaint to
  16   ‘lump’ parties together and to fail to distinguish between named defendants.”
  17   Beatport LLC v. SoundCloud Ltd, No. CV 19-847 MRW, 2020 WL 3977602, at
  18   *5, *6 (C.D. Cal. July 13, 2020) (dismissing complaint that did not make “any
  19   attempt to distinguish between the parties or to explain in any way the basis for
  20   their alleged culpability” (citing Iqbal, 556 U.S. at 678)); Doe v. WebGroup Czech
  21   Republic, No. 2:21-cv-02428-VAP-SK, 2022 WL 982248, at *10 (C.D. Cal. Jan.
  22   13, 2022), amended on reconsideration in part sub nom. Doe v. WebGroup Czech
  23   Republic, No. 2:21-cv-02428-VAP-SK, 2022 WL 982245 (C.D. Cal. Feb. 25,
  24   2022) (dismissing sex trafficking and child pornography claims against certain
  25   defendants where the complaint “comingle[d] [sic] the Defendants together
  26   throughout much of the pleading, without identifying which entities are responsible
  27   for the conducted [sic] underlying the claims”). Also referred to as “shotgun
  28   pleading,” this pleading “style deprives Defendants of knowing exactly what they
                                               - 23 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
               TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 34 of 43 Page
                                     ID #:2302



   1   are accused of doing wrong” and is a “defect [that] alone warrants dismissal.”
   2   Sollberger v. Wachovia Sec., LLC, No. SACV 09-0766AGANX, 2010 WL
   3   2674456, at *4-5 (C.D. Cal. June 30, 2010).
   4          B.     The Court Should Dismiss Each of the Claims Asserted Against
   5
                     Mr. Antoon

   6          The Amended Complaint lacks sufficient plausible facts to state a claim
   7   against Mr. Antoon under Rule 8 and Twombly and Iqbal.
   8          Like the original Complaint, the Amended Complaint relies on group
   9   pleading and conclusory assertions unsupported by facts. The Amended
  10   Complaint attributes conduct to a collective “MindGeek Defendants,” asserting
  11   that “the MindGeek defendants frequently purchased in bulk trafficked content
  12   from known trafficking areas” (AC ¶ 11) and that “the MindGeek Defendants
  13   participated in a venture engaged in sex trafficking” by engaging in a list of
  14   actions. (AC ¶ 371). The Amended Complaint also improperly relies on many of
  15   the same legal conclusions concerning defendants’ knowledge, intent, control, and
  16   other required elements as the original Complaint. (See, e.g., AC ¶ 404
  17   (“MindGeek knowingly possessed visual depictions of minors engaging in sexually
  18   explicit conduct . . . including . . . Serena Fleites” (emphasis added)); ¶ 423
  19   (asserting that Antoon and others “directed and controlled” a network of sham
  20   entities)).
  21          In addition, the Amended Complaint’s allegations concerning conduct by
  22   “MindGeek” are interspersed with a formulaic refrain that the conduct in question
  23   was directed, implemented, approved, or known by each of the individual
  24   defendants. (See, e.g., AC ¶ 194 (claiming MindGeek strategy was “implemented
  25   with the knowledge and approval of Bergmair, Antoon, Tassillo, and Urman”); ¶
  26   200 (asserting that MindGeek SEO process was “approved and directed by
  27   Bergmair and implemented by Antoon, Tassillo, and Urman”); ¶ 213 (MindGeek’s
  28
                                 - 24 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS      Document 137 Filed 05/23/22       Page 35 of 43 Page
                                    ID #:2303



   1   alleged failure to make required disclosure was “done at the direction of Antoon,
   2   Tassillo, and Urman pursuant to the wishes of Bergmair”).
   3         These rote formulations, apparently added in a vain effort to remedy the
   4   pleading deficiencies defendants previously identified (see, e.g., ECF No. 68 at 17-
   5   25), are little more than “naked assertion[s],” Iqbal, 556 U.S. at 678, unsupported
   6   by the facts required to state a claim for relief. See Hum. Rts. Def. Ctr., 2017 WL
   7   10402603, at *2 (rejecting as conclusory allegations that defendant oversaw
   8   implementation of policy). While these allegations list the names of the individual
   9   defendants, they fail to meaningfully distinguish between them and are simply a
  10   form of “shotgun pleading” or “everyone did everything allegation[s]” that cannot
  11   satisfy Rule 8. Littleton v. Experian Info. Solutions, Inc., 2015 WL 4638308, at *2
  12   (N.D. Cal. Aug. 4, 2015) (granting defendants’ motion to dismiss complaint
  13   containing insufficiently tailored “everyone did everything allegation[s]” that
  14   attributed the same conduct to all defendants).
  15         Despite a second opportunity to plead legally sufficient claims, Plaintiff’s
  16   Amended Complaint, like the original Complaint, contains only a handful of
  17   specific references to Mr. Antoon, and no factual allegations concerning what Mr.
  18   Antoon did that impacted Plaintiff. For these reasons, and for the reasons
  19   discussed in detail below, the claims against Mr. Antoon should be dismissed in
  20   their entirety and with prejudice.
  21                1.     The Sex Trafficking Claims (Counts I, II, and IV) Should be
  22
                           Dismissed.

  23         The Amended Complaint fails to state a sex trafficking claim against Mr.
  24   Antoon. Plaintiff alleges in Count I that “MindGeek” “recruited, enticed,
  25   harbored, transported, provided obtained, advertised, maintained, patronized and/or
  26   solicited” Plaintiff and other minors or victims of sexual abuse that “MindGeek”
  27   knew or should have known were not of age or had been abused “to engage in
  28   commercial sex acts through combination of force, threats of force, fraud, or
                                            - 25 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22        Page 36 of 43 Page
                                     ID #:2304



   1   coercion” in violation of the TVPRA, specifically, 18 U.S.C. §§ 1591(a)(1) and
   2   1595. (AC ¶ 361.) But there are no factual allegations that Mr. Antoon engaged in
   3   any of this conduct.
   4         The Amended Complaint’s only assertion that Mr. Antoon had anything to
   5   do with individuals who appeared on MindGeek’s websites is the claim that he
   6   “had a shell company through which he would sign exclusive deals with unknown
   7   porn performers and then use their control over MindGeek to promote those
   8   performers and increase the value of their content.” (AC ¶ 145.) Plaintiff does not
   9   allege that she had any interactions with Mr. Antoon, and there is no allegation that
  10   the alleged exclusive deals were anything other than consensual mutually
  11   beneficial arrangements among adults.
  12         Count II, which alleges that “the MindGeek Defendants” benefited from a
  13   sex trafficking venture (see, e.g., AC ¶ 370), is also insufficiently pleaded as to Mr.
  14   Antoon. To plead a beneficiary trafficking theory, a plaintiff must allege that that
  15   the defendant “knowingly . . . benefit[ed], financially or by receiving anything of
  16   value, from participation in a venture.” 18 U.S.C.A. § 1591(a)(2). But the
  17   Amended Complaint does not allege facts showing that Mr. Antoon knew about or
  18   participated in a trafficking venture, knowingly benefited from it, or knew or
  19   should have known that the Plaintiff in this case was a minor or a victim of sex
  20   trafficking. See 18 U.S.C. § 1591(a)(2). Indeed, the Amended Complaint does not
  21   even plead facts suggesting Plaintiff was the victim of a trafficking venture at all,
  22   alleging instead that Plaintiff’s videos were made and posted on websites owned
  23   by MindGeek and other third-parties by two people with whom she had intimate
  24   personal relationships. (See AC ¶¶ 258-72.) Further, while the Amended
  25   Complaint states in connection with its trafficking claims that “MindGeek,” which
  26   is not defined to include Mr. Antoon, had a “reasonable opportunity to observe the
  27   victims featured on its website,” it says nothing about Mr. Antoon. (AC ¶ 373).
  28
                                 - 26 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22       Page 37 of 43 Page
                                     ID #:2305



   1         Count IV, which alleges generically that the “Defendants” conspired to
   2   violate the sex trafficking laws (see AC ¶¶ 390-98 (citing 18 U.S.C. § 1594(c)),
   3   similarly falls short because the Amended Complaint provides no detail regarding
   4   what role, if any, Mr. Antoon is alleged to have played in any purported agreement
   5   to violate the sex trafficking laws.
   6         By continuing to rely on group allegations against Mr. Antoon and other
   7   defendants, the Amended Complaint fails to provide the required clear statement
   8   about what Mr. Antoon supposedly did. See Shin v. Time Squared Glob., LLC, No.
   9   SACV1500943AGGJSX, 2015 WL 13284952, at *3 (C.D. Cal. Aug. 26, 2015)
  10   (“One common type of shotgun pleading comes in cases with multiple defendants
  11   where the plaintiff uses the omnibus term ‘Defendants’ throughout a complaint by
  12   grouping defendants together without identifying what the particular defendants
  13   specifically did wrong.”). Moreover, the allegation that Mr. Antoon (and others in
  14   the Bro-Club) “would . . . know” “everything” (AC ¶ 200) is unavailing here. It is
  15   both speculative, as the conditional “would” makes clear, and conclusory. See
  16   Iqbal, 556 U.S. at 680-81 (explaining that allegations that Attorney General,
  17   among other things, “knew of [and] condoned . . . harsh conditions of confinement
  18   as a matter of policy” were “not entitled to the assumption of truth” since they
  19   were “nothing more than a formulaic recitation of the elements” of a claim
  20   (citations and quotation marks omitted)).
  21         Because none of the sex trafficking causes of action contains sufficient
  22   “facts to give fair notice” of what Mr. Antoon allegedly did wrong, see Eclectic
  23   Properties E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014)
  24   (citation omitted), Plaintiff’s First, Second, and Fourth causes of action should be
  25   dismissed as to Mr. Antoon.
  26

  27

  28
                                 - 27 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22      Page 38 of 43 Page
                                     ID #:2306


                    2.     The Child Pornography Claims (Counts V and VI) Should
   1                       be Dismissed.
   2         The Amended Complaint also fails to state a claim against Mr. Antoon
   3   under 18 U.S.C. §§ 2252, 2252A, and 2255. Section 2255 provides a cause of
   4   action for anyone who suffers personal injury from a defendant’s violation of
   5   Sections 2252 or 2252A, the federal criminal statutes prohibiting knowing receipt,
   6   possession, distribution, and sale of child pornography. See 18 U.S.C. §§ 2252,
   7   2252A, 2255. The Supreme Court has held that the “knowing” requirement
   8   extends both to the sexually explicit nature of the material and the performer’s age.
   9   See United States v. X-Citement Video, Inc., 513 U.S. 64, 78 (1994).
  10         Here, the Amended Complaint again fails to plausibly allege any claim
  11   against Mr. Antoon. In Plaintiff’s child pornography claims, the Amended
  12   Complaint alleges “knowing” possession of Plaintiff’s videos by the group of
  13   defendants referred to as “MindGeek.” (AC ¶¶ 401-04, 406, 410-15, 417.) Such
  14   allegations are insufficient as conclusory. Iqbal, 556 U.S. at 678. They also
  15   improperly fail to distinguish between defendants. See Beatport, 2020 WL
  16   3977602, at *5-7 (dismissing complaint that, among other things, made no attempt
  17   to distinguish between the defendants and attributed all actions to both of them).
  18         The Amended Complaint contains no allegations that Mr. Antoon had any
  19   personal involvement with Plaintiff’s videos or played a role in causing her
  20   injuries. There are also no allegations that Mr. Antoon was aware that Plaintiff
  21   was a minor at the time her videos were made. Nor is it plausible that as the CEO
  22   of a large internet service provider Mr. Antoon would have this knowledge or even
  23   that he would know of the existence of one individual’s videos on a website
  24   containing several million consensual adult videos.
  25         Accordingly, Plaintiff’s Fifth and Sixth causes of action that Mr. Antoon
  26   harmed her by the possession or distribution of explicit materials should be
  27   dismissed for failure to state a claim.
  28
                                 - 28 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22       Page 39 of 43 Page
                                     ID #:2307


                    3.     The Civil RICO Claims (Counts VII and VIII) Should be
   1                       Dismissed.
   2         The Amended Complaint also fails to state a civil RICO claim against Mr.
   3   Antoon. In her Seventh and Eighth causes of action, Plaintiff alleges that, to
   4   maximize traffic to MindGeek’s website and increase profits, the defendants
   5   conducted a racketeering scheme that included sex trafficking, the distribution of
   6   child pornography, mail and wire fraud, and money laundering, among other
   7   things. (See, e.g., AC ¶¶ 424, 426, 435.)
   8         To state a civil RICO claim a plaintiff must allege: “(1) conduct (2) of an
   9   enterprise (3) through a pattern (4) of racketeering activity (known as ‘predicate
  10   acts’) (5) causing injury to plaintiff’s ‘business or property.’” Living Designs, Inc.
  11   v. E.I. Dupont de Nemours & Co., 431 F.3d 353, 361 (9th Cir. 2005) (quoting
  12   Grimmett v. Brown, 75 F.3d 506, 510 (9th Cir. 1996)). On the “pattern” element,
  13   where a complaint alleges RICO claims against multiple defendants, the plaintiff
  14   must allege “at least two predicate acts by each defendant.” In re WellPoint, Inc.,
  15   865 F. Supp. 2d 1002, 1035 (C.D. Cal. 2011); see also Harmoni Int’l Spice, Inc. v.
  16   Bai, No. CV1600614BROASX, 2016 WL 6542731, at *25 (C.D. Cal. May 24,
  17   2016) (dismissing RICO claim against defendants who were only alleged to have
  18   committed one predicate act). To satisfy the enterprise element, a complaint must
  19   sufficiently allege “how Defendants associated together for a common purpose.”
  20   Doan v. Singh, 617 F. App’x 684, 686 (9th Cir. 2015). “[B]are assertions of a
  21   pattern of racketeering activity,” however, that do not specify “what exactly each
  22   individual did, when they did it, or how they functioned together as a continuing
  23   unit” are insufficient. Id.
  24         The Amended Complaint does not adequately allege that Mr. Antoon
  25   committed any predicate acts. In connection with each purported predicate act, the
  26   Amended Complaint merely alleges conduct by “MindGeek,” “Defendants,” or
  27   “enterprise members.” (See, e.g., AC ¶¶ 436-42 (discussing sex trafficking as a
  28   predicate act by “Defendants”). The bare assertion that “[e]ach Defendant
                                             - 29 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
                TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS      Document 137 Filed 05/23/22        Page 40 of 43 Page
                                    ID #:2308



   1   performed or participated in the performance of at least two of the predicate acts”
   2   (AC ¶ 459), without any facts describing the conduct, is plainly insufficient. The
   3   only reference to Mr. Antoon in connection with a purported predicate act occurs
   4   in the Amended Complaint’s discussion of wire fraud. (See AC ¶¶ 446-54).
   5   There, the Amended Complaint alleges that in furtherance of a scheme to deceive
   6   “the public, government, and its users that MindGeek was the world’s leading
   7   technology companies . . . MindGeek used the mails and wires to” among other
   8   things, “issue numerous public misrepresentations in furtherance of this scheme,
   9   including, inter alia, false testimony before the Canadian House of Commons by
  10   Antoon and Tassilo.” (AC ¶ 446-47.) Whatever type of wire fraud scheme
  11   Plaintiff may be attempting to describe here, it is clearly not one alleged to have
  12   been committed by Mr. Antoon, but by “MindGeek.”
  13         The Amended Complaint also fails to adequately allege that Mr. Antoon
  14   participated in the conduct of a RICO enterprise. The Amended Complaint does
  15   not set out what role Mr. Antoon played in the alleged enterprise, how he
  16   associated with others, or what specific conduct he engaged in to further the
  17   purpose of the enterprise. The Amended Complaint’s conclusory allegations that
  18   Mr. Antoon “directed and controlled” a “network of sham shell companies” (AC ¶
  19   423), or that “Defendants Antoon, Urman, Tassillo, and other Bro-Club members,”
  20   among other things, “direct[ed]” a “scheme to purchase trafficked and
  21   nonconsensual content,” “orchestrat[ed]” a “complex shell game to facilitate and
  22   mask criminal content,” and “provid[ed] false testimony to the Canadian House of
  23   Commons,” (AC ¶ 428) do not satisfy Plaintiff’s burden to allege with specificity
  24   Mr. Antoon’s involvement in an enterprise. See Doan, 617 F. App’x at 686
  25   (affirming dismissal of complaint lacking sufficient factual allegations of
  26   defendants’ conduct in connection with alleged RICO enterprise); Forest
  27   Ambulatory Surgical Assocs., L.P. v. Ingenix, Inc., No. CV122916PSGFFMX,
  28   2013 WL 11323601, at *6 (C.D. Cal. Dec. 13, 2013) (plaintiff’s naked assertions,
                                           - 30 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22         Page 41 of 43 Page
                                     ID #:2309



   1   “[d]evoid of any factual predicate,” that defendants “directed and controlled the
   2   affairs of the enterprise” were “patently conclusory”).
   3         Because the Amended Complaint fails to plead facts satisfying key elements
   4   of a RICO claim, Plaintiff’s Seventh and Eighth causes of action should be
   5   dismissed.
   6         Plaintiff’s RICO conspiracy claim under 18 U.S.C. § 1962(d) (Count VIII)
   7   should also be dismissed as against Mr. Antoon because to maintain a section
   8   1962(d) claim a plaintiff must properly plead a primary RICO claim, which
   9   Plaintiff has failed to do. See Howard v. Am. Online Inc., 208 F.3d 741, 751 (9th
  10   Cir. 2000) (affirming dismissal of plaintiffs’ RICO conspiracy claim because “the
  11   failure to allege substantive violations precludes their claim that there was a
  12   conspiracy to violate RICO”); Eclectic Properties E., 751 F.3d at 1000 (“Because
  13   we affirm the dismissal of Plaintiffs’ RICO allegations, we also affirm the
  14   dismissal of Plaintiffs’ allegations of RICO conspiracy.”).
  15                4.     Plaintiff’s State Law Claims Should be Dismissed.
  16         The Court should dismiss Plaintiff’s state law claims against Mr. Antoon
  17   pursuant to Rule 12(b)(6) for the reasons set forth in the concurrently filed
  18   memoranda of points and authorities submitted by the MindGeek Entities, Bernd
  19   Bergmair, David Tassillo, and Corey Urman, which Mr. Antoon joins. These
  20   claims are: Count IX (Public Disclosure of Private Facts), Count X (Intrusion into
  21   Private Affairs), Count XI (Placing Plaintiff in a False Light), Count XII (Common
  22   Law Misappropriation of Name and Likeness), Count XIII (California Statutory
  23   Misappropriation), Count XIV (Cal. Civ. Code § 1708.85), Count XV
  24   (Negligence), Count XVI (Cal. Bus. & Prof. Code §§ 17200 and 17500), and
  25   Count XVII (Civil Conspiracy).
  26         These claims also fail because each of them is devoid of facts relating to Mr.
  27   Antoon. Here too, the Amended Complaint describes conduct by the collective
  28   “MindGeek” and repeatedly relies on conclusory allegations for the elements of the
                                            - 31 -
        DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS       Document 137 Filed 05/23/22       Page 42 of 43 Page
                                     ID #:2310



   1   claims asserted. See, e.g., Count IX (AC ¶ 480) (“MindGeek disclosed the videos
   2   and images of sexually explicit conduct, including nonconsensual sexual acts and
   3   child pornography, of Plaintiff with knowledge that they are highly offensive”
   4   (emphasis added)); Count XVIII (AC ¶ 503) (“MindGeek knowingly appropriated
   5   Plaintiff’s identity, image, likeness, and pictures” (emphasis added)). For the
   6   reasons described above, such conclusory pleading is not sufficient to survive Mr.
   7   Antoon’s motion to dismiss.
   8   III.   THE AMENDED COMPLAINT SHOULD BE DISMISSED BECAUSE
   9
              SECTION 230 IMMUNITY EXTENDS TO MR. ANTOON

  10          Finally, the Amended Complaint fails to state a claim against Mr. Antoon
  11   because Section 230 of the Communications Decency Act shields Mr. Antoon
  12   from liability for content posted on the MindGeek Entities’ websites by third
  13   parties.
  14          Under Section 230, Interactive Computer Service Providers (“ICSPs”) enjoy
  15   broad immunity from liability for content posted by third parties to their websites.
  16   See 47 U.S.C. § 230; see also Doe v. Mindgeek USA Inc., No.
  17   SACV2100338CJCADSX, 2021 WL 4167054, at *3 (C.D. Cal. Sept. 3, 2021).
  18          Section 230 applies when, as here, a plaintiff seeks to treat defendants as
  19   publishers or speakers of information provided by others. See 47 U.S.C. §
  20   230(c)(1); see also Gonzalez v. Google, LLC, 2 F.4th 871, 891 (9th Cir. 2021).
  21   Section 230 immunity extends to officers of an ICSP, such as Mr. Antoon. See
  22   Klayman v. Zuckerberg, 753 F.3d 1354, 1357-58 (D.C. Cir. 2014) (concluding
  23   Section 230 immunity applies to Facebook CEO Mark Zuckerberg because
  24   complaint seeks to hold him accountable for his role in making Facebook’s service
  25   available); People v. Ferrer, No. 16FE019224, 2016 WL 7237305, at *11 (Cal.
  26   Super. Dec. 09, 2016) (concluding Section 230 immunity applied to company and
  27   its officers).
  28
                                 - 32 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Case 2:21-cv-04920-WLH-ADS        Document 137 Filed 05/23/22          Page 43 of 43 Page
                                      ID #:2311



   1          Even if the Court concludes that the MindGeek Entities do not qualify for
   2   Section 230 protection because Plaintiff has adequately alleged that the MindGeek
   3   Entities participated in sex trafficking or played a role in content creation or
   4   development, Section 230 immunity should nevertheless apply to Mr. Antoon.
   5   The Amended Complaint does not include any factual allegations connecting Mr.
   6   Antoon to a sex trafficking venture. Nor has Plaintiff alleged that Mr. Antoon
   7   engaged in content creation or development, particularly with respect to the videos
   8   and images depicting Plaintiff in this case. Because there is no basis for
   9   concluding that an exception to Section 230 immunity applies, and for the reasons
  10   set forth in the memorandum of points and authorities concurrently filed by the
  11   MindGeek Entities, Bernd Bergmair, David Tassillo, and Corey Urman, which Mr.
  12   Antoon joins, the Court should the dismiss the claims against Mr. Antoon pursuant
  13   to Rule 12(b)(6) because they are barred under Section 230.
  14   IV.    CONCLUSION
  15          For the reasons discussed above, Feras Antoon respectfully requests that the
  16   Court dismiss the claims against him with prejudice for lack of personal
  17   jurisdiction or, in the alternative, for failure to state a claim.
  18   Dated: May 23, 2022
                                                 WIECHERT, MUNK & GOLDSTEIN, PC
  19

  20                                             By: /s/ David W. Wiechert
                                                 David W. Wiechert (SBN 94607)
  21

  22                                             COHEN & GRESSER LLP
  23                                             Jason Brown (admitted pro hac vice)
                                                 Nathaniel P. T. Read (admitted pro hac vice)
  24                                             Colin C. Bridge (admitted pro hac vice)
                                                 Attorneys for Defendant Feras Antoon
  25

  26

  27

  28
                                 - 33 -
       DEFENDANT FERAS ANTOON’S NOTICE OF MOTION AND MOTION
            TO DISMISS FOR LACK OF PERSONAL JURISDICTION
